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AO 458 (Rev, 06/09) Appearance of Counsel

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Virginia

Kforce, Inc.

 

To:

Date:

Plaintiff
Vv

ThomasRiley Strategies, LLC
Defendant

Case No. = 1:18cv451 (CMH/JFA)

YS Sa

APPEARANCE OF COUNSEL

The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

ThomasRiley Strategies, LLC - 1455 Pennsylvania Ave., NW, Suite 400, Washington, DC 20004

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ra Attorney oo

Adam L. Shaw, Va. Bar No. 89559

Printed name and bar number

BRYAN CAVE LEIGHTON PAISNER LLC
1155 F Street NW
Washington DC 20004-1357

 

Address

adam.shaw@bclplaw.com
E-mail address

 

_- (202) 508-6078

 

Telephone number

___ (202) 508-6200

 

FAX number
